                          3:21-cr-30032-SEM-TSH # 26                  Page 1 of 3
                                                                                                            E-FILED
                                                                               Monday, 23 August, 2021 09:47:50 AM
                                                                                       Clerk, U.S. District Court, ILCD

                           IN THE UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF ILLINOIS
                                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                               )
                                                        )
                                      Plaintiff,        )
                    v.                                  )
                                                        )                 No. 21-cr-30032
JEREMY BANKS,                                           )
                                                        )
                                      Defendant.        )


    DEFENDANT’S MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION
                     FOR RELEASE ON BOND

           NOW COMES Defendant Jeremy Banks, by and through his attorney, Daniel Noll,

for Defendant’s Memorandum in Support of Defendant’s Motion for Release of Bond,

states the following:

           If released on bond, the Defendant would reside with Eric Rent at 2518 Gaylord,

Springfield, Illinois. Mr. Rent is also willing to serve as a third-party custodian to Mr.

Banks. In the alternative, Mr. Banks could reside with Selena Brown at 4001 Treviso Dr.,

Apartment 109, Springfield, IL. Ms. Brown would also be willing to serve as a third-party

custodian to Mr. Banks.1

           If released, Mr. Banks would be employed as a barber at All-Star Cuts on McArthur

Boulevard in Springfield. Mr. Banks was previously employed as a barber. He is the sole

provider for his family and earns between $50,000-$60,000 per year in that capacity.

           Mr. Banks’ mother and grandmother reside at 1933 S. Martin Luther King Drive in

Springfield. They each have significant health issues. His mother, Cheryl Evans, suffers

from diabetes as well as high and low blood pressure. His grandmother, Dorthy Miller, is


1
    Defense Counsel is providing the probation officer with contact numbers for these individuals.
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87 years old. She had a stroke in 2020 and requires care. In addition, she is currently in the

hospital as she contracted COVID-19.

       WHEREFORE, Defendant Jeremy Banks respectfully requests that he be released

on bond and for such other and further relief as this Court deems just and equitable.



                                                      Respectfully submitted,

                                                      NOLL LAW OFFICE,


                                                    BY: /s Daniel Noll
                                                        DANIEL NOLL
                                                        Attorney for the Defendant
                                                        Reg. No. 228987
                                                        Noll Law Office, LLC
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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF ILLINOIS


                                 PROOF OF SERVICE

       I hereby certify that on August 23, 2021, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to the following:

       Sarah Seberger
       U.S. Attorney’s Office
       318 South Sixth Street
       Springfield, IL 62701

and I hereby certify that I have mailed by United States Postal Service the document to the

following non-CM/ECF participants:


       Jeremy Banks
       Sangamon County Jail
       1 Sheriff’s Plaza
       Springfield, IL 62701




                                                   BY: /s Daniel Noll
                                                       DANIEL NOLL
                                                       Attorney for the Defendant
                                                       Noll Law Office, LLC
                                                       930 East Monroe Street
                                                       Springfield, IL 62701
                                                       (217) 544-8441
                                                       (217) 544-8775 (fax)
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